            Case 1:21-cr-00093-RC Document 40 Filed 01/19/22 Page 1 of 7




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 21-cr-93 (RC)
                 v.                           :
                                              :
JOHN D. ANDRIES,                              :
                                              :
                        Defendant.            :


    GOVERNMENT’S RESPONSE TO THE DEFENDANT’S SUPPLEMENTAL BRIEF

         After the briefing on defendant John Andries’s motion to dismiss (Doc. 20) was completed,

five judges of this Court issued rulings denying substantially similar motions seeking, inter alia,

dismissal of counts charging obstruction of an official proceeding, in violation of 18 U.S.C. §

1512(c)(2). See United States v. Montgomery, No. 21-CR-46, Doc. 87, 2021 WL 6134591 (Dec.

28, 2021) (Moss, J.); United States v. Nordean, No. 21-CR-175, Doc. 263, 2021 WL 6134595

(Dec. 28, 2021) (Kelly, J.); United States v. Mostofsky, No. 21-CR-138, 2021 WL 6049891 (Dec.

21, 2021) (Boasberg, J.)1; United States v. Caldwell, --- F. Supp. 3d ---, No. 21-CR-28, 2021 WL

6062718, (Dec. 20, 2021) (Mehta, J.); United States v. Sandlin, --- F. Supp. 3d ---, 2021 WL

5865006 (D.D.C. Dec. 10, 2021) (Friedrich, J.). In a supplemental brief, the defendant contends

that the count charging him under Section 1512(c)(2) should be dismissed notwithstanding those

decisions. Doc. 39. That contention is flawed, and the defendant’s motion should be denied.

      A. The certification of the Electoral College vote is an “official proceeding.”
         An official proceeding as defined in 18 U.S.C. § 1515(a)(1) includes a “proceeding before

the Congress.” 18 U.S.C. § 1515(a)(1)(B). While “not every action taken within the walls of

Congress” amounts to an official proceeding under that definition, “a joint session of Congress


1
    The defendant omits any discussion of the Mostofsky ruling.


                                                  1
           Case 1:21-cr-00093-RC Document 40 Filed 01/19/22 Page 2 of 7




convened to verify and count the electoral vote for President and Vice President of the United

States does.” Montgomery, 2021 WL 6134591, at *4. Indeed, a “straightforward reading” of the

“official proceeding” definition in Section 1515 “easily reaches the Certification of the Electoral

College vote.” Caldwell, 2021 WL 6062718 at * 4.

       The Certification of the Electoral College vote (“Certification”) is an “official proceeding”

because it is “akin to a formal hearing.” Sandlin, 2021 WL 5865006, at *3. The formality built in

the “official proceeding” definition in Section 1515(a)(1) indicates that a proceeding should both

“comprise part of the business of the enumerated body” and that the body in question “has

convened in some formal respect for the purpose of conducting that business. Montgomery, 2021

WL 6134591, at *5. As applied to the “official proceeding” definition in Section 1515(a)(1)(B),

the proceeding “must involve a formal assembly or meeting of Congress for the purpose of

conducting official business.” Id.; accord id. at *9 (“the term ‘official proceeding’ refers to ‘[t]he

business conducted by ... [an] official body’ that has formally convened for the purpose of

conducting that business”) (quoting Proceeding, Black’s Law Dictionary (11th ed. 2019)). As

described in the government’s response to the defendant’s motion to dismiss, the Certification

indubitably involves a “formal” congressional assembly that conducts official business. See Doc.

23, at 11; see Montgomery, 2021 WL 6134591, at *9 (describing Certification proceeding);

Sandlin, 2021 WL 5865006, at *4 (noting the Certification has all “the trappings of a formal

hearing before an official body”); Caldwell, 2021 WL 6062718 at *4 (Congress carrying out the

“business” of an “official body” meets the “official proceeding” definition).

       In his supplemental brief, the defendant argues (Doc. 39, at 1-5) that the Certification does

not qualify as an “official proceeding” because it is a mere “ceremonial meeting.” That argument

is factually and legally flawed.




                                                  2
           Case 1:21-cr-00093-RC Document 40 Filed 01/19/22 Page 3 of 7




       Addressing first the mistaken factual argument, under the Constitution and federal statutory

law, the Certification comprises a step in the critical process of transferring power from one

presidential administration to another, itself a critical bulwark in American democracy. The

Twelfth Amendment requires presidential electors to meet in their respective states and certify

“distinct lists of all persons voted for as President, and of all persons voted for as Vice-President,

and of the number of votes for each.” U.S. Const. amend. XII. It further requires that the Vice

President “shall, in the presence of the Senate and House of Representatives, open all the

certificates and the votes shall then be counted.” Id. The Electoral Count Act, in turn, requires

Congress to meet on January 6 to count the electoral votes, resolve any objections, certify their

validity, and announce the result. 3 U.S.C. § 15; see Vasan Kesavan, Is the Electoral Count Act

Unconstitutional?, 80 N.C. L. Rev. 1653, 1659 (2002) (Under the Electoral Count Act, “the

President-elect is not elected by ‘We the People’ on election day, or even by the electors on the

day they cast their votes, but by the joint convention of the Senate and House of Representatives

on the day the electoral votes are formally counted”). A congressional proceeding that facilitates

the Constitutional transition from one presidential administration to another is no mere

“ceremonial” function.

       The defendant’s legal arguments fare no better. First, the defendant claims (Doc. 39, at 2-

3) that that the Certification cannot be an official proceeding because it is instead a “meeting.”

The defendant fails to explain how describing a joint session or assembly of Congress as a

“meeting” somehow places it outside Section 1515(a)(1)’s definition.             In any event, the

Constitutional requirement that Congress “convene” to certify the Electoral Vote results requires

“some formal convocation,” Nordean, 2021 6134595 WL at *5, sufficient to render it a

“proceeding before the Congress” regardless of whether the defendant opts to describe it as a




                                                  3
           Case 1:21-cr-00093-RC Document 40 Filed 01/19/22 Page 4 of 7




“meeting.” See Montgomery, 2021 WL 6134591, at *5 (an official proceeding “must involve a

formal assembly or meeting of Congress for the purpose of conducting official business”)

(emphasis added). Similarly unavailing is the defendant’s related contention (Doc. 39, at 3) that

the Certification is not an official proceeding because the Senate and House of Representative “do

not ‘proceed’ together.” That contention rests on a faulty factual premise. The Houses meet

together, 3 U.S.C. § 15, and although they may withdraw to separate Houses to consider objections

(as occurred during the Certification in 2021), the “joint meeting” must conclude with the

declaration of a “result” in the presidential election, 3 U.S.C. § 16.

       The defendant principally argues (Doc. 39, at 3-5) that the Certification is not an “official

proceeding” because it is “entirely ministerial.” Id. at 3. To be sure, the Certification proceeding

following many presidential elections has been a routine affair that formalizes the certificates

transmitted from Electors to Congress. But “it is inaccurate to characterize the Certification that

occurred on January 6 as a ‘purely ministerial, legislative vote-counting event.’” Caldwell, 2021

WL 6062718 at *7 (citation omitted). As noted above, the Certification is undertaken pursuant to

the Constitution and federal statutory law. The Electoral Count Act imbues Congress with the

power to “reject the vote or votes when they agree that such vote or votes have not been so regularly

given by electors whose appointment has been [properly] certified.” 3 U.S.C. § 15; see 3 U.S.C.

§ 6 (describing credentials of Electors). The Act further provides which votes Congress should

count if “more than one return or paper purporting to be a return from a State shall have been

received,” and when votes given by “successors or substitutes” may be counted. Id.; see Stephen

A. Siegel, The Conscientious Congressman's Guide to the Electoral Count Act of 1887, 56 Fla. L.

Rev. 541, 651 (2004) (The Electoral Count Act “provides a framework for Congress’s

consideration of the states’ electoral votes, specifies the proper grounds for members of Congress




                                                  4
               Case 1:21-cr-00093-RC Document 40 Filed 01/19/22 Page 5 of 7




who wish to object to counting any or all votes from a state, and provides decisional rules for cases

where the Senate and House of Representatives disagree about whether to count a vote”). Those

procedures do not describe a mere “ceremonial” proceeding, as the events of January 6, 2021—

where crowds entered the Capitol as “each House was engaged in a proceeding ‘to make an official

decision about’ disputed Electoral votes, Caldwell, 2021 WL 6062718 at *7 (citation omitted)—

illustrate.2

    B. The defendant’s as-applied vagueness claim lacks merit.
        The defendant argues (Doc. 39, at 5-8) that his as-applied vagueness claim remains viable

under the reasoning in Montgomery, Nordean, Caldwell, and Sandlin. Specifically, the defendant

contends that his case “presents a closer question” (id. at 5) than those cases for various factual

reasons—for example, because the defendant “did not engage in advance planning [or] assault [or]

threaten anyone,” and “did not take any actions to impede or influence the vote count,”3 Id. at 6-

7. Those factual assertions play no role in resolving the defendant’s pretrial as-applied vagueness

claim. See United States v. Pope, 613 F.3d 1255, 1259 (10th Cir. 2010) (Gorsuch, J.) (internal

quotation omitted) (“Rule 12 permits pretrial resolution of a motion to dismiss the indictment only




2
  The defendant’s discussion (Doc. 39, at 4-5) of the “history of ‘objections’” is inapposite.
Objections before 1887 offer no insight into how to interpret the Electoral Count Act, which was
passed that year. And debate in the House of Representative over the objection to a “faithless”
Elector’s vote in 1969 lasted two hours—the maximum permitted under the Act—followed by
close votes in the House and the Senate. Kesavan, supra, at 1692-94. That is hardly the mark of
a “ceremonial” or “ministerial” proceeding.
3
  On January 6, 2021, the defendant recorded videos of himself in the Capitol in which he stated,
inter alia, “Hey y’all think they hear us now?”; “Knock, knock motherfu**ers!”; and “I think the
police have gotten the message: We ain’t backin’ down.” and a video immediately outside the
Capitol in which he stated, “We made it to the Speaker’s Chambers . . . I think we’re on the right
side of history…I don’t know if it was me or somebody else, but I know I tried to pull the fire
alarm. I wasn’t sure if I was successful, but I know somebody did it this time for sure. I hear it.”
Doc. 22, at 4-5.


                                                 5
            Case 1:21-cr-00093-RC Document 40 Filed 01/19/22 Page 6 of 7




when trial of the facts surrounding the commission of the alleged offense would be of no assistance

in determining the validity of the defense.”).

       Section 1512(c)(2) “passes constitutional muster” because it “provides a discernible

standard when legally construed.” Montgomery, 2021 WL 6134591, at *20. A conviction under

Section 1512(c)(2) requires proof that “the natural and probable effect of the defendant's actions

were to obstruct the official proceeding; that he knew that his actions were likely to obstruct that

proceeding; and that he acted with the wrongful or improper purpose of delaying or stopping the

official proceeding.” Id. at *22. Whether the evidence proves those elements in a given case is a

question not of vagueness but of evidentiary sufficiency, a question that is premature at this

juncture. Id.; accord United States v. Williams, 553 U.S. 285, 306 (2008) (“Close cases can be

imagined under virtually any statute. The problem that poses is addressed, not by the doctrine of

vagueness, but by the requirement of proof beyond a reasonable doubt.”).

       Judge Friedrich’s decision in United States v. Reffitt, No. 21-cr-32 (DLF), Doc. 81 (Dec.

29, 2021), is instructive. As here, the indictment in Reffitt included allegations sufficient to alert

the defendant of the “essential facts constituting the [Section 1512(c)(2)] offense charged,” id. at

6-7 (citation omitted) but was not a speaking indictment as used in Sandlin, Caldwell, and

Nordean.4     Because the indictment in Reffitt—like the indictment here—tracked Section

1512(c)(2)’s statutory language and specified the time and place of the offense, it adequately put

Reffitt on notice of the charge against him. Id. at 7 (citations omitted). Judge Friedrich thus denied

Reffitt’s “as-applied vagueness challenge as premature,” permitting him to renew that challenge

under Fed. R. Crim. P. 29 once “the facts have been established by evidence introduced at trial.”



4
  The Section 1512(c)(2) charge in Montgomery also resembles the Section 1512(c)(2) charge in
the defendant’s case.


                                                  6
          Case 1:21-cr-00093-RC Document 40 Filed 01/19/22 Page 7 of 7




Id. (citing United States v. Raniere, 384 F. Supp. 3d 282, 320 (E.D.N.Y. 2019); see Mostofsky,

2021 WL 6049891, at *11 (denying as-applied vagueness claim where the facts were “sufficient

to state an offense”). The same disposition is appropriate here.

                                        CONCLUSION

       For the foregoing reasons, and any additional reasons as may be cited at a hearing on this

motion, the government respectfully requests that the defendant’s motion be denied.


                                             Respectfully submitted,

                                             MATTHEW D. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481502


                                             By:

                                             /s/ James I. Pearce
                                             James I. Pearce
                                             Capitol Breach Appellate Coordinator
                                             United States Attorney’s Office
                                             NC Bar No. 44691
                                             555 Fourth Street, N.W.
                                             Washington, DC 20530
                                             James.Pearce@usdoj.gov
                                             (202) 532-4991

                                              /s/ Douglas G. Collyer
                                             Douglas G. Collyer
                                             Assistant United States Attorney (Detailee)
                                             N.D.N.Y. Bar No. 519096
                                             14 Durkee Street, Suite 340
                                             Plattsburgh, New York 12901
                                             518-314-7800
                                             Douglas.Collyer@usdoj.gov




                                                7
